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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3035-1
           v.                        )
                                     )
JOSE ENRIQUE AYALA CHAVEZ,           )
                                     )                   ORDER
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant’s motion to continue, filing 39, is granted and,

     1. Trial is continued to 9:00 a.m., October 11, 2005 for a
duration of four trial days before the Honorable Richard G. Kopf
in Courtroom 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Jury selection
will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
July 28, 2005 and October 11, 2005 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 28th day of July, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
